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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITEDS STATES OF AMERICA,

                       Plaintiff,

vs.                                                              No. 21-CR-0668-JB


TIFFANY ROBINSON,

                       Defendant.

                UNOPPOSED SECOND MOTION TO CONTINUE TRIAL
                 AND MOTION TO EXTEND TIME TO FILE MOTIONS

       Defendant Tiffany Robinson (“Ms. Robinson”), through undersigned counsel,

respectfully moves the Court to continue the trial currently set for October 8, 2021, for sixty (90)

days, and to grant a corresponding extension of time to file motions. As grounds for this motion,

Ms. Robinson states the following:

       1.      Ms. Robinson was indicted on May 12, 2021, on counts of possession of

methamphetamine with the intent to distribute and felon in possession of a firearm. Doc. 2. She

was arraigned on June 11, 2021. Undersigned counsel was retained to represent Ms. Robinson on

July 27, 2021. Doc 17.

       2.      The parties are currently engaged in informal, ongoing, plea negotiations. As part

of plea negotiations, undersigned counsel is in the process of attempting to interview witnesses

and obtain documents regarding Ms. Robinson’s prior, 2019, state court plea agreement as the

facts and circumstances may provide the parties with mitigating information to consider during

the current plea negotiations. Absent the parties being able to reach a plea agreement in this case,

undersigned counsel is also in the process of drafting a suppression motion and requires
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additional time to complete his investigation regarding the facts and circumstances surrounding

the procurement and execution of the subject search warrant in this case.

       4.       This is the second request for a continuance.

       6.       Ms. Robinson is in custody, however, after a hearing on Ms. Robinson’s Motion

Appealing Detention Order (Doc. 19), the Court has authorized Ms. Robinson to be reside at a

halfway house. Doc. 28. Ms. Robinson is currently on a wait list to be transferred to a halfway

house. Id.

       7.       AUSA Shana Long does not oppose this motion.

       Pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), a continuance will allow for the

reasonable time necessary to engage in ongoing plea negotiations, obtain and review discovery

related to a prior related felony prosecution of Ms. Robinson, to prepare and file relevant

motions, and to investigate all possible defenses, considering the exercise of diligence. The

requested continuance will not give rise to a Speedy Trial Act violation. The additional time

required by the continuance may properly be excluded under 18 U.S.C. § 3161(h)(7) on the

ground that the ends of justice served by the continuance outweigh the best interest of the public

and the defendant in a speedy trial. Failure to grant the continuance would "deny counsel for the

defendant … the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence." 18 U.S.C. § 3161(h)(7)(B)(iv).

       WHEREFORE, for the foregoing reasons, the Defendant (Ms. Robinson), through

undersigned counsel, respectfully requests that this Court vacate the current jury trial setting of

October 8, 2021, and related motions deadlines.




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                                           Respectfully Submitted:

                                           By: /s/ Joe M. Romero, Jr.
                                           Joe M. Romero, Jr.
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 1st day of October 2021, I filed the foregoing
electronically through the CM/ECF system and served the same to opposing counsel.

By:    /s/ Joe M. Romero, Jr.
       Joe M. Romero, Jr.




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